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                            UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NORTH DAKOTA

Kathleen Ronning-Schimetz,
                                                         UNOPPOSED MOTION FOR
                                  Plaintiff,               EXTENSION OF TIME
                                                            TO FILE ANSWER
          vs.

North Dakota Office of the Adjutant General,                 Case No. 1:25-cv-00023
Clark V. Johnson, in his individual capacity,
and Stephen P. Herda, in his individual
capacity,

                                  Defendants.


[¶1]   Pursuant to Fed. R. Civ. P. 6(b), Defendants North Dakota Office of the Adjutant General

and Stephen Herda (“State Defendants”) request an extension of time to answer Plaintiff Kathleen

Ronning-Schimetz’s Complaint. See Doc. No. 1. Plaintiff’s Complaint was served on State

Defendants on February 6, 2025. Doc. Nos. 5, 6. State Defendants’ Answer is currently due on

February 27, 2025. See Fed. R. Civ. P. 12(a)(1)(A)(i). State Defendants now request until April

11, 2025, to file their Answer.

[¶2]   Good cause exists to grant this motion, which is not made for the purposes of delay. By

State Defendants’ calculation, the Answer of the remaining Defendant, Clark Johnson, will be due

on April 11, 2025, because he was served on February 10, 2025 and he is a federal employee. See

Fed. R. Civ. P. 12(a)(2). State Defendants would benefit from additional time to prepare their

Answer, and submit that this matter would be streamlined if all Answers are due on the same day.

State Defendants accordingly request an extension of time until April 11, 2025, to file their

Answer. Undersigned counsel consulted with counsel for the Plaintiff, who do not oppose this

request. For all of these reasons, State Defendants respectfully request that the Court grant their

motion.
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Dated this 26th day of February, 2025.
                                     State of North Dakota
                                     Drew H. Wrigley
                                     Attorney General

                                     By:      /s/ Courtney R. Titus
                                             Assistant Attorney General
                                             State Bar ID No. 08810
                                             Office of Attorney General
                                             Email ctitus@nd.gov


                                               /s/ Jane G. Sportiello
                                             Assistant Attorney General
                                             State Bar ID No. 08900
                                             Office of Attorney General
                                             500 North 9th Street
                                             Bismarck, ND 58501-4509
                                             Telephone (701) 328-3640
                                             Facsimile (701) 328-4300
                                             Email jsportiello@nd.gov


                                     Attorneys for Defendants North Dakota Office of the
                                     Adjutant General and Stephen Herda.




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